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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

                                                      Case No.
Brenda Clayton

         Plaintiff,
                                                         COMPLAINT FOR DAMAGES
v.                                                    UNDER THE FAIR DEBT COLLECTION
                                                       PRACTICES ACT, THE TELEPHONE
Asset Acceptance, LLC                                  CONSUMER PROTECTION ACT AND
                                                          OTHER EQUITABLE RELIEF
         Defendant.

                                                       JURY DEMAND ENDORSED HEREIN



                                                PARTIES

1. Plaintiff, Brenda Clayton, (“Brenda”), is a natural person who resided in Winter Springs,

     Florida, at all times relevant to this action.

2. Defendant, Asset Acceptance, LLC, (“AA”), is a Delaware Limited Liability Company that

     maintained its principal place of business in Warren, Michigan, at all times relevant to this

     action.

                                   JURISDICTION AND VENUE

3.   Pursuant to 28 U.S.C. §1331, this Court has federal question jurisdiction over this matter as it

     arises under the Fair Debt Collection Practices Act (“FDCPA”), 15 U.S.C. §1692 et seq. and

     the Telephone Consumer Protection Act, U.S.C. §1367(a).

4.   Pursuant to 28 U.S.C. §1391(b), venue is proper because Defendant resides in this judicial

     district.

                                        STATEMENT OF FACTS

5. AA uses a predictive dialer system.




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6. Before AA began contacting Brenda, it and Brenda had no prior business relationship and

   Brenda had never provided express consent to AA to be contacted on her cellular telephone.

7. AA regularly uses instrumentalities of interstate commerce and the mails to collect consumer

   debts owed or due or asserted to be owed or due another.

8. The principal source of AA’s revenue is debt collection.

9. AA is a "debt collector” as defined by 15 U.S.C. §1692a(6).

10. As described, infra, AA contacted Brenda to collect a debt that was incurred primarily for

   personal, family, or household purposes.

11. This alleged obligation is a “debt” as defined by 15 U.S.C. §1692a(5).

12. Brenda is a “consumer” as defined by 15 U.S.C. §1692a(3).

13. 	  On several occasions, the dates of which will be discovered through discovery, AA willingly

   and knowingly used an automatic telephone dialing system to call Brenda on her cellular

   phone multiple times in violation of the TCPA. See Mais v. Gulf Coast Collection Bureau,

   Inc., 2013 U.S. Dist. LEXIS 65603, *10 (S.D. Fla. 2013); See also Gager v. Dell Fin. Servs.,

   LLC, 727 F.3d 265 (3rd Cir. 2013).

14. Around March 2014, AA began contacting Brenda on Brenda’s cellular phone in connection

   with the collection of the debt.

15. During one communication, around March 2014, Brenda requested AA cease further calls to

   Brenda.

16. Despite this request, AA contacted Brenda on Brenda’s cellular phone in connection with the

   collection of the debt on numerous occasions, most recently around May 2014.

17. During one communication, AA threatened to garnish Brenda’s wages if Brenda didn’t pay

   the debt.




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18. AA has not garnished Brenda’s wages.

19. AA never intended to garnish Brenda’s wages.

20. Around March 2014, AA contacted Brenda at Brenda’s place of employment on the main

   line in connection with the collection of the debt.

21. During this communication, Brenda requested AA cease further calls to Brenda at Brenda’s

   place of employment.

22. Despite this request, AA contacted Brenda at Brenda’s place of employment in connection

   with the collection of the debt on numerous occasions, most recently around May 2014.

23. AA caused Brenda to lose focus at work.

24. On more than one occasion, Brenda’s co-workers overheard AA’s calls, which embarrassed

   Brenda.

25. Brenda repeatedly requested AA cease further calls to Brenda.

26. AA caused Brenda emotional distress.

27. AA attempted to collect a debt from Brenda.

28. AA violated the FDCPA and the TCPA.

                                           COUNT ONE

                       Violation of the Fair Debt Collection Practices Act

29. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

30. Defendant violated 15 U.S.C. §1692c(a)(1) by calling Plaintiff at a time or place known to be

   inconvenient for Plaintiff.

                                           COUNT TWO

                       Violation of the Fair Debt Collection Practices Act

31. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.




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32. Defendant violated 15 U.S.C. §1692d by engaging in conduct the natural consequence of

    which is to harass, oppress, or abuse Plaintiff in connection with the collection of the debt.

                                          COUNT THREE

                       Violation of the Fair Debt Collection Practices Act

33. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

34. Defendant violated 15 U.S.C. §1692e by using false, deceptive, or misleading representations

    or means in connection with the collection of the debt.

                                           COUNT FOUR

                       Violation of the Fair Debt Collection Practices Act

35. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

36. Defendant violated 15 U.S.C. §1692f by using unfair or unconscionable means to collect the

    debt.

                                                COUNT FIVE

                     Violations of the Telephone Consumer Protection Act

37. Plaintiff incorporates each of the preceding allegations as if specifically stated herein.

38. Defendant willingly and knowingly violated 47 U.S.C. § 227(b)(1)(A) on multiple and

    separate occasions by each time calling Plaintiff’s cellular telephone using both an automatic

    telephone dialing system without Plaintiff’s prior express consent.

                                          JURY DEMAND

39. Plaintiff demands a trial by jury.

                                      PRAYER FOR RELIEF

40. Plaintiff prays for the following relief:




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          a. Judgment against Defendant for actual damages, statutory damages, and costs and

             reasonable attorney’s fees pursuant to 15 U.S.C. §1692k.

          b. An order enjoining Defendant from placing further telephone calls to Plaintiff’s

             cellular telephone number pursuant to 47 U.S.C. § 227(b)(3).

          c. Judgment against Defendant for statutory damages pursuant to 47 U.S.C. §

             227(b)(3) for each and every call Defendant made in violation of the TCPA.

          d. For such other legal and/or equitable relief as the Court deems appropriate.



                                           RESPECTFULLY SUBMITTED,



                                           By:     /s/ Jeffrey S. Hyslip
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Date: September 23, 2014




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